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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN SECTION OF TENNESSEE
                                  WESTERN DIVISION


 NICOLE FREEMAN, as wrongful death
 representative of Gershun Freeman and next
 friend of minor child T.F.,

          Plaintiff,
                                                     Case No. 2:23-CV-02193
                                                     JURY DEMAND
 v.

 SHERIFF FLOYD BONNER, in his
 individual capacity; CHIEF JAILER KIRK
 FIELDS, in his individual capacity; and
 SHELBY COUNTY, TENNESSEE, a
 Tennessee municipality,

        Defendants.
______________________________________________________________________________

                    FIRST AMENDED SCHEDULING ORDER
______________________________________________________________________________

        Pursuant to the Court’s Order (ECF No. 118) granting Defendant Sheriff Floyd Bonner,

Jr’s Unopposed Motion for Status Conference to Address Discovery Deadlines (ECF No. 116) and

Response in Support (ECF No. 117) filed by Defendant Kirk Fields and Shelby County, Tennessee,

a scheduling conference was held on December 6, 2024, via Microsoft Teams. Present at the

conference were Brice M. Timmons, Craig A. Edgington, Sara K. McKinney, William R. Faulk,

and Brook Cluse for the Plaintiff; Brady S. Parrish for Defendant Sheriff Floyd Bonner, Jr.; and

Robert D. Meyers for Defendants Kirk Fields and Shelby County, Tennessee. The parties

conferred and addressed amendments to the scheduling order in light of the discovery stay. The

parties conferred and proposed modifications to the deadlines outlined in this order. The deadlines

are as follows:
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 INITIAL DISCLOSURES PURSUANT TO FED. R. CIV. P. 26(a)(1): Complete

 MOTIONS TO JOIN PARTIES: Complete

 MOTIONS TO AMEND PLEADINGS: Complete

 MOTION TO DISMISS: Complete

 ALTERNATIVE DISPUTE RESOLUTION:

      (a)    ADR DEADLINE PURSUANT TO ADR PLAN RULE 4.3(a):
             October 16, 2024

      (b)    SELECTION OF MEDIATOR PURSUANT TO ADR PLAN RULE 5.4(c)2:

             STIPULATION FILING DATE: Complete

 COMPLETING ALL FACT DISCOVERY: 120 days after entry of order on motions to dismiss
 filed by Defendants Bonner, Fields, and Shelby County (ECF Nos. 60, 57, and 58)

      (a)    WRITTEN DISCOVERY: 90 days after entry of order on motions to dismiss
             filed by Defendants Bonner, Fields, and Shelby County (ECF Nos. 60, 57, and 58)

      (b)    FACT WITNESS DEPOSITIONS: 120 days after entry of order on motions to
             dismiss filed by Defendants Bonner, Fields, and Shelby County (ECF Nos. 60, 57,
             and 58)

      (c)    EXPERT WITNESS DISCLOSURES PURSUANT TO FED.R.CIV. P.26(a)(2)

             (1)    DISCLOSURE OF PLAINTIFF’S (OR PARTY WITH BURDEN OF
                    PROOF) RULE 26(a)(2) EXPERT INFORMATION: 60 days after
                    entry of order on motions to dismiss filed by Defendants Bonner, Fields,
                    and Shelby County (ECF Nos. 60, 57, and 58).

             (2)    DISCLOSURE OF DEFENDANT’S RULE 26 (a)(2) EXPERT
                    INFORMATION: 90 days after entry of order on motions to dismiss filed
                    by Defendants Bonner, Fields, and Shelby County (ECF Nos. 60, 57, and
                    58).

             (3)    EXPERT WITNESS DEPOSITIONS: 134 days after entry of order on
                    motions to dismiss filed by Defendants Bonner, Fields, and Shelby County
                    (ECF Nos. 60, 57, and 58)

SUPPLEMENTATION UNDER RULE 26(e)(1): 120 days after entry of order on motions to
dismiss filed by Defendants Bonner, Fields, and Shelby County (ECF Nos. 60, 57, and 58)


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MOTIONS TO EXCLUDE EXPERTS UNDER F.R.E. 702/DAUBERT MOTIONS:
90 days before trial

FILING DISPOSITIVE MOTIONS: 90 days before trial

STATUS CONFERENCE: This case is set for a Status Conference via Microsoft Teams on
March 24, 2025, at 9:30 AM, at which time the Court will set deadlines for the Jury Trial, Pretrial
Conference, and the due date for the Joint Proposed Pretrial Order.

       All other deadlines and requirements not set forth above shall remain as previously
ordered. This order has been entered after consultation with the parties. Absent good cause
shown, the deadlines set by this order will not be modified or extended.

       IT IS SO ORDERED, this 6th day of December, 2024.

                                                     s/ Mark S. Norris
                                                     MARK S. NORRIS
                                                     UNITED STATES DISTRICT JUDGE




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